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 Services

                        CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION

 Name:                          Donquarion Lewis
 Chronological Age:             18 years, 11 months
 Neuropsychologist:             Chiarina Owens, Ph.D.
 Date of Birth:                 08/20/2002
 Date of Evaluation:            08/17/2021


 SUMMARY OF EVALUATION
 Donquarion was an 18 year, 11-month-old, right-handed, English-speaking male with a history
 notable for numerous concussions, related emergency room visits, deficits in attention, learning
 disabilities in reading and arithmetic, reported mistreatment in the academic setting, special
 education services, and emotional challenges associated with adverse events at school and within
 his extended family. Disability Rights Michigan requested this evaluation to assess Donquarion's
 neurocognitive and behavioral functioning, provide diagnostic clarification, assist with treatment
 planning, and make recommendations concerning his educational needs.

 Evaluation results confirm the clinical significance of concerns presented by Donquarion and his
 mother about his academic preparedness, neurocognitive and behavioral functioning, and future
 success. Evaluation results indicated a long history of significant emotional and cognitive
 challenges for this exceptionally polite, socially engaged, and intelligent teenager, challenges for
 which available records do not provide evidence of adequate academic and psychosocial support.
 In the context of Average to Above Average nonverbal intellectual functioning and broad average
 abilities on measures of verbal memory, verbal learning efficiency, and understanding societal
 norms, Donquarion demonstrated impairment on measures of phonological processing (skills
 associated with efficiently processing and applying sound-symbol relationships), vocabulary,
 verbal fluency, verbal reasoning/concept formation, attention/concentration, academic
 achievement, fine motor dexterity, time-dependent mental flexibility, and visual memory. In
 contrast to impressive visual-perceptual problem-solving, visually based quantitative reasoning,
 and visual-spatial analysis and construction ability (30th to 81st percentile), Donquarion
 demonstrated Borderline range scores (2nd to 3rd percentile) on verbal measures of psychometric
 intelligence. Unfortunately, there is no history of Donquarion being provided a complete
 psychoeducational evaluation to guide special education interventions. In addition to the
 psychological and social difficulties expected from chronic academic failure and related traumas, his
 neurocognitive profile lends itself to unique social and emotional difficulties related to knowing
 more than one can verbalize or apply in the absence of appropriately tailored compensatory
 strategies. Summarily, evaluation results indicated significant emotional challenges secondary to
 the tragic loss of family members, past academic experience, academic and social injustices,
 perceived failure, and concerns about his future.

 Diagnostic criteria were met for 1) Specific Learning Disorders in Reading and Arithmetic, severe;
 2) Attention-Deficit/Hyperactivity Disorder (ADHD), combined presentation, moderate; 3)
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                                                                                                    Exhibit 2


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Posttraumatic Stress Disorder (affecting Emotions, Sensory experiences, and Conduct); 4)
Complicated Grief; 5) Panic Disorder, in remission; Major Depressive Disorder, severe, in
remission; and rule-out diagnoses of Disruptive Mood Dysregulation Disorder (DMDD), Mild
neurocognitive/Post-concussive effects affecting cognitive and fine motor functioning, and
Central Auditory Processing Disorder (CAPD). Other history or problems for clinical focus
included Unspecified Sleep Disorder and Academic/ Educational Problem.

Recommendations provided included: 1) Consultation with his primary care physician about the
findings of this evaluation, including the exploration of treatments for mood, trauma, attention,
and sleep problems; referrals for occupational therapy given fine motor deficits, audiology for
CAPD, and neurology to rule out post-concussive syndrome/head injury effects; 2) Immediate
psychiatric consultation and engagement in psychotherapy to assess/monitor for subclinical mood
and psychiatric symptoms, address trauma and grief, and facilitate relaxation and coping strategies;
3) Forward findings to Donquarion's school district to address academic programming and
transitional plans for a post-high school setting; 4) Family Systems Therapy to address other
family dynamics impacting Donquarion's wellbeing and potential for success. Please note that
treatment of Donquarion's attention deficits, trauma, and other emotional challenges will
increase his availability for learning. Specific consideration of a norepinephrine reuptake
inhibitor like Strattera (Atomoxetine) may be the desired option for treating attention and reading
problems        given      clinical   and     research       indication      of     its     efficacy
(https://pubmed.ncbi.nlm.nih.gov/27410907/).

BACKGROUND INFORMATION AND HISTORY
The following background information was obtained from interviews with Donquarion and his
mother, Ms. Lewis McDonald, a review of available records, and standardized questionnaires.

Current Concerns: Ms. McDonald stated her primary concern to be securing an accurate
description of Donquarion's academic challenges and needed educational interventions so that his
transition into higher education and gainful employment meets with success. She added that she
was frustrated and perplexed by the absence of answers to her questions about why her son struggled
academically. Donquarion expressed his primary concerns, including his reading ability,
educational roadblocks to playing college football, and coping with emotional stressors related to
his past and current academic experiences and family loss. He and his mother shared that they
felt unsupported except for one or two teachers during his formal education. When asked about
IEP notes stating they were provided guidance about post-high school education and career
planning, Donquarion and his mother stated they had no recall of the transition plans recorded in
the June 2021 IEP. They also expressed they were not in attendance at the IEP dated to have
occurred the year he graduated and that Donquarion's graduation reflected their investment and
determination and not the school district's. They reported that Donquarion was not included on
the list of graduates. Nevertheless, informed at the last minute that he could graduate,
Donquarion marched across the stage (graduation ceremony) the day of his grandmother's
funeral.

Medical History: Donquarion reported a history of injury in his left knee and concussions
sustained playing football. He reported being hospitalized twice during his sophomore year but
did not remember why. He added that due to his high pain threshold, there were numerous times
he continued to play (football) despite significant injury. Donquarion reported a history of hearing

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problems and disrupted sleep. An eraser was discovered lodged in his ear when he was between
10 and 12 years old. Donquarion reported fluctuations in his appetite and involuntary leg
movements that appeared to be stress-related. Donquarion denied the use of nicotine, marijuana,
or illicit substances. He reported no known history of seizures.

Birth and Family History: Donquarion was reportedly the product of a complicated delivery
(emergency cesarean section with suction). His birth weight was 7 lbs., 5 oz. He previously lived
with his mother, two sisters, and two brothers and often cared for his younger siblings. His
family history was significant for learning difficulties, mental health challenges, and several
traumatic events. Donquarion reported that his relationship with his mother was strained by rapid
changes in her mood and resentment about his responsibility for his siblings. He noted that he
felt he was able to protect and positively influence his mother at one time, but that in recent
years, he felt powerless to protect her and was stressed and frustrated by her difficulties. He
reported living with his grandmother for the past few months due to his disagreements with his
mother and to help take care of his grandmother. He added that his level of irritability decreased
while living with his grandmother.

Donquarion reported, "In high school, I argued with all my teachers." He described tenth and
eleventh grade as a "bad phase" during which he argued with his siblings. He added that in 2016 his
cousin died. After his cousin died, Donquarion reported that he became a different person,
feeling emotionally numb and having difficulty expressing sadness. However, he recalled
instances in school during which he felt humiliated by teachers, and those events triggered
episodes of increased anger and aggressive feelings at home and school. After the 2020 shooting
of his uncle, whoserved as a surrogate father, his grief and anger escalated again.

Educational History: Donquarion reported a history of difficulty with reading and math. He
reported that he graduated from Kalamazoo Central High School in June of 2021. Following
graduation, he pursued an athletic opportunity out of state that was designed to assist him in going
to college and continue his interest in football. However, once he arrived, he could not read well
enough to register for classes and had to return home.

School records indicated a history of grade retention for Donquarion in 11th grade. He attended
summer school in 2013 and 2018. In 2019 he was enrolled in summer school, but records noted:
"Advised bus driver that he would spit on them. He has been removed from the Summer School
program." Generally, Donquarion's report cards noted failing grades in most subjects. School
records also indicated an IEP meeting held with Donquarion and his family on June 9, 2021.
However, Donquarion and his mother reported no knowledge of that meeting.

Donquarion received special education supports and services with an Individualized Education
Program (IEP) under the category Specific Learning Disability in the areas of Reading Fluency
and Mathematics Problem Solving. Donquarion received 1885 minutes (31 hours and 25 minutes
per week) of Level Resource Program and 540 minutes (9 hours per week) of Transition Services.
Supplementary aids and services included: extended time to complete assignments, tests, and
quizzes given in small group settings with extended time, test and quizzes read aloud, preferential




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seating (away from distraction), shortened/ accommodated assignments and assessments, and
Contingency Learning Plan in collaboration with the family due to Covid-19.

Donquarion's 10/12/2020 IEP included plans for his post-secondary transition activities.
According to his IEP, Donquarion planned to attend a vocational program providing training in
construction at Kalamazoo Valley Community College (KVCC) or Michigan Career and Technical
Institute (MCTI). Researching his options for post-secondary education, developing adult living
skills (i.e., opening a bank account), and taking driver's training, were listed under his transition
activities and services to be carried out by Donquarion and his family, with some help from his
guidance counselor. Donquarion nor his mother recalled being informed of the details listed above.

The 10/2021 IEP also indicated that Donquarion received the following grades: Algebra 2b (61%),
Earth Science A (26%), U.S. Gov & Politics A (48%), and African World Studies (50%). Lack
of attendance and missing assignments reportedly impacted his performance. School records also
indicated a significant number (16) of documented behavioral incidents during the 2019-2020
school year until 2/26/2020, including leaving the classroom and defying school personnel.

A Special Education Complaint on behalf of Donquarion was filed on January 27, 2021, to the
Michigan Department of Education, Office of Special Education (OSE). According to the
Michigan Department of Education (MDE) in a Special Education Complaint Investigation Report
dated March 23, 2021, the official complaint was: "whether the district developed an
individualized education program (IEP) to address the student's unique educational needs and
enable to Student to be involved in and make progress in the general curriculum." The decision
was as follows: "The IEP was developed to address the student's needs. The MDE determines no
violation."

Evaluation and Treatment History: School records included a Multidisciplinary Team
Evaluation dated 4/17/12 when Donquarion was in third grade. The purpose of the evaluation
was to determine whether there was a learning disability that adversely affected Donquarion's
educational performance to the point that special education was necessary. The evaluation
included parent and teacher input, intervention data, Dynamic Indicators of Basic Early Literacy
Skills (DIBELS), Dolch Word lists, and report cards. This evaluation determined that
Donquarion was not achieving adequately in "reading fluency skills" and was not making
sufficient progress based on his response to a scientific, research-based intervention. Furthermore,
his pattern of strengths and weakness revealed weakness in reading fluency (i.e., significantly
below grade expectations) relative to his functional and math skills. It was determined these
results were not a result of vision, hearing, intellectual ability, emotional disturbance, cultural
factors, or environmental or economic disadvantage. Despite missing a lot of school during first
grade, it was determined that due to adequate attendance in previous 3 semesters and 95% participation in
intensive intervention, Donquarion required Special Education services to be involved in the
General Education curriculum.

Donquarion received tutoring services from SLD-Read, a tutoring service that utilized the Orton-
Gillingham approach to reading, writing, and spelling. A student evaluation summary from
Donquarion's 9th- grade year included pre-test (11/15/2016) and post-test (12/04/2017) scores



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summarizing his progress. These standard scores were derived from the Woodcock-Johnson III
(pre) & IV (post) and the Comprehensive Test of Phonological Processing (CTOPP). The pre- and
post-test scores were as follows: Woodcock-Johnson III Letter-Word Identification = 61 (pre) and
57 (post), Spelling = 71(pre) and 69 (post), CTOPP Elision (Phonological Awareness) = 80 (pre)
and 75 (post). A progress report dated 1/3/2018, when Donquarion was in 9th grade, indicated
that he had become proficient in phonological awareness, phonics sounds, including short vowels,
long vowels, consonants, blends, and digraphs. His goal for future sessions included learning
spelling rules, syllable patterns, prefixes, suffixes, and written expression.

BEHAVIORAL OBSERVATIONS
On the day of testing, Donquarion was noted to have flown overnight from Arizona to Illinois
before driving over two hours to reach the office for the evaluation. Observations and test results
are presented and reviewed with this and other factors in mind.

At first glance, Donquarion's presentation resembled a youngster with an intellectual deficit, given
the initial quality of his engagement, e.g., poor eye contact, limited verbal expression, slow and
robotic-like speech, and an unusually deliberate approach to some tasks. However, impressive
problem-solving, visual perceptual ability and capacity for learning were noted after testing
began. Once comfortable, he opened up to the examiner and shared freely despite what appeared
to be a baseline shy, somewhat reserved temperament. Over time, Donquarion was engaged,
exerted reasonable effort, and demonstrated appropriate nonverbal communication through eye
contact and the use of gestures. He voiced personal insight and awareness of his presentation by
describing himself to have "RBF," a facial expression that looked angry when he wasn't.
Donquarion wrote with his right hand. Despite his interest and engagement with the evaluation
process, he had difficulty sustaining attention, occasionally putting his head down on the table
while working, and was easily frustrated with challenging tasks. While the effect of limited sleep
was noted over time, the restlessness and difficulties focusing observed by this examiner and
reported by Donquarion and his mother to be longstanding problems appeared secondary to an
attention deficit rather than fatigue alone.

Donquarion's emotional expression was difficult to read due to his relatively flat affect
(emotional presentation). While his expressions did not definitively speak to depressed mood, the
content of his responses suggested symptoms of depression and anxiety, including trauma effects
and grief. Despite emotional, physical (fatigue), and cognitive challenges, Donquarion
remembered instructions and picked up on nuances often missed by other examinees. Of note,
individuals with significant language disorders and those affected by violence are often hyper-alert
and responsive to subtleties in their environment. In response to questions about his oral reading,
during which he was observed to miss phonemes and entire words, Donquarion stated, "I scan [for
the words I               put it into my own words [what the text seems to be saying]."

In terms of his mental status, Donquarion at times seemed to lose track of where he was
geographically, possibly related to his recent trip. He was reality-oriented during the evaluation,
but he reported a history of seeing things in the dark and hearing voices, which following further
inquiry seemed to reflect anxiety instead of external voices associated with psychosis.
Donquarion reported a history of panic attacks and stated that earlier that day, on the plane, "it
felt like something was punching me in the eye or crawling on me." Donquarion stated that his


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experience of difficulties hearing appeared to be in part related to daydreaming. Though it was
removed, he reported having gotten an eraser stuck in his right ear some time ago.

INTERVIEW
When asked about stressors in his life, Donquarion spoke of his cousin and uncle's death.
Donquarion reported that the man who murdered his uncle lived in Atlanta and had not been
arrested because no one would testify against him. He reported having homicidal thoughts
toward the man but stated he would not act on them. Donquarion was able to cite reasons for not
carrying out homicidal ideation, such as his relationship with his siblings and cousins and his
future. He expressed willingness to speak with a counselor about these feelings. Donquarion
denied suicidal ideation.

Donquarion reported significant feelings of depression. He stated that he "caught himself crying
or trying to cry." He noted that he often talked down to himself and sometimes felt angry and sad
at the same time. Donquarion reported episodes of anger that involved destroying furniture and
punching lockers at school, which he could only remember in part. He added that he was quick to
fight while playing football but noted that his coaches often "hyped" to do so. Donquarion
reported that he used to walk out of class and cry because when his teachers saw him distracted or
falling asleep, they called on him to read. He reported being teased for his struggles with reading,
though he had one good friend who did not tease him.

Donquarion reported that he experienced panic attacks when he was in school. He recalled three
panic attacks during which he escaped into the hallway for cool air and sat in the stairwell for 15-
20 minutes. Donquarion reported that this was when his anger started to get 'really bad' as well.
He reported that a disgruntled teacher ran over his foot with a computer table and sent him to the
Student Representative Council (SRC. This teacher reportedly picked on him often (e.g.,
standing in the doorway when he needed a break) and wanted him to write her an apology letter,
to which Donquarion refused.

Socially, Donquarion enjoyed playing football on the defensive line and listening to music. He
expressed a desire to go to college, play football and buy whatever he wanted for himself and his
siblings.

INFORMATION FROM OBSERVER (Ms. McDonald) RATING SCALE
Donquarion's mother completed a questionnaire regarding his behaviors. She reported emotional
problems for Donquarion, including feeling worthless, angry, resentful, helpless, hopeless,
irritable, and easily annoyed by others. She endorsed a history of trauma for Donquarion and
getting stuck on thoughts, urges, and mental pictures that were upsetting. Donquarion reportedly
lost his temper and ganged up on his peers at times.

Attentional difficulties starting in early childhood were also a concern endorsed for Donquarion.
He had trouble concentrating, thinking, making decisions, and keeping his mind on work or play
for long. He was easily distracted, lost things, and needed extra help with instructions. He moved
constantly, failed to complete tasks, and made careless errors. Developmentally, Donquarion's
mother noted that he was a late talker and demonstrated dysfluencies (stuttered) at times.



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Socially, Donquarion was reported to avoid and fear social situations, becoming distressed when
required to participate. Academically, he had trouble reading, specifically identifying the main
idea of the story or answering questions about what he read. When it came to math, he forgot
concepts he already learned, had trouble sequencing steps of problem solving, confused math
signs, and had a poor memory for basic math facts.

INFORMATION FROM SELF-REPORT QUESTIONNAIRES
Donquarion was given a screener that was evaluated qualitatively. On the Personality Assessment
Screener (PAS), Donquarion endorsed letting little things bother him too much and not enjoying
things due to worry. He also endorsed having a bad temper and people thinking he was aggressive.
He denied suicidal ideation.

REFERRAL SUMMARY AND NARRATIVE OF TEST RESULTS
Donquarion Lewis was an 18 year, 11-month-old, dominant right-hand male whose history was
notable for numerous concussions, related emergency room visits, deficits in attention, learning
disabilities in reading and arithmetic, academic and emotional difficulties in the school
environment, special education services, and numerous traumatic events, including events suffered
in the school environment. At the time of this evaluation, initiated by Disability Rights Michigan, he
had just returned to Michigan from an out-of-state athletic/academic opportunity where he had
been unsuccessful due to his illiteracy. The purpose of the current evaluation was to assess
Donquarion's present neurocognitive, emotional, and behavioral functioning, provide diagnostic
clarification, and assist with treatment planning and recommendations concerning his educational
needs.

Please see the recommendations following the narrative results for supports and interventions to
increase resiliency and maximize Donquarion's well-being and functioning.

Neuropsychological evaluation results revealed the following:
      Overall behavioral and cognitive functioning reflected difficulties with sustained focus
      throughout the evaluation and exacerbated by fatigue toward the end of the evaluation.

          Significant discrepancy between language-based and nonverbal measures of psychometric
          intelligence: Average Range nonverbal intellectual functioning was yielded on measures
          of visually-based problem-solving measures, tests of visual-spatial analysis and
          construction ability, visual-motor processing speed, and untimed executive tasks of
          concept formation and mental flexibility; Borderline Range performance on intelligence
          measures tapping verbal comprehension, vocabulary, and working memory using auditory
          information. Donquarion's performance on the measures tapping language-based
          intellectual functioning was approximately five years behind his chronological age.

          Given the significant discrepancy between intelligence domains, the full-scale I.Q. should
          not be considered a reflection of his intellectual ability. His nonverbal abilities are a
          better estimate of his academic and overall potential.

          Borderline to Deficient range performance on all achievement tests screening word-
          reading, spelling, sentence/reading comprehension, and mechanical arithmetic (grade
          equivalents of 3.3 through 4.7).

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          Consistent with behavioral observations of communication and vocabulary skills lower
          than age expectations, Donquarion demonstrated impaired phonological processing ability.
          Interestingly, he demonstrated age-appropriate abilities on verbal fluency, verbal
          memory, and verbal learning measures.

          Consistent with significantly stronger nonverbal intellectual abilities, Donquarion
          achieved scores in the average to above-average range on a structured and untimed
          executive functioning measure of concept formation, mental flexibility, planning, and
          organization. His performance on this task was aided by immediate feedback. In contrast,
          his performance on timed measures of executive functioning dependent upon visual
          scanning, sequencing, and mental flexibility, was significantly below age expectations.

          A careful review of Donquarion's performance pattern on a verbal memory test indicated
          that while his verbal memory was adequate, his speed of acquiring verbal knowledge was
          below average. Donquarion was also below average on measures assessing his memory for
          geometric shapes. His performance pattern on this measure and others suggested that he
          benefited from contextual cues and semantic context in the recall of information. Further,
          his ability to recall verbal information was aided more by story/narrative context over
          repetition, and repetition and context over material dependent upon his independent ability
          to use strategies for encoding and retaining information.

          Age-appropriate fine motor speed was noted on a finger tapping test. It was consistent
          with his performance on other measures of processing speed requiring rote information
          processing (e.g., no sequencing and limited set-shifting required). In contrast, his
          performance on measures of fine motor dexterity was mildly impaired.

          Parental endorsement of Donquarion's behavior and functioning on other standardized
          questionnaires highlighted clinically significant attention/concentration, memory, and
          self-esteem problems.

          Donquarion's responses to a standardized questionnaire and interview questions indicate
          significant emotional distress, symptoms of anxiety, depression, and the need for further
          evaluation to rule out a thought disorder, considerable difficulty in
          attention/concentration, self-esteem, anxiety, social distress, and traumatic stress
          secondary to the tragic loss of two significant family members and chronic academic
          failure and feelings of mistreatment in the school setting. Donquarion reported struggling
          with homicidal ideation after the deathof his uncle.

          In contrast to the findings of this evaluation, school records indicated Donquarion had
          developed adequate phonological processing skills. Further concerns about his academic
          history and special education services provided included the absence of a comprehensive
          psychoeducational evaluation, including intellectual assessment, referral for a
          neuropsychological evaluation given his history of concussions, and evidence of
          multimodal assistive strategies that would likely have enhanced his learning, compliance
          and overall wellbeing.



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DIAGNOSIS
F81.0 Specific Reading Disorder, severe
F81.2 Specific Mathematics Disorder, severe
F40.2 Attention-Deficit/Hyperactivity Disorder (ADHD), combined presentation, moderate
F43.12 Post-Traumatic Stress Disorder, chronic (with disturbance of mood, sensory, and conduct)
F43.25 Complicated Grief
F43.30 Major depressive disorder, recurrent, in remission, unspecified
F41.0 Panic Disorder, in remission

Other history or problems for clinical focus
Unspecified Sleep Disorder, Impairment of motor functions (fine motor dexterity), Academic or
Educational Problem; and rule-out diagnoses of Disruptive Mood Dysregulation Disorder
(DMDD), Mild neurocognitive/Post-concussive effects affecting cognitive and fine motor
functioning, and Central Auditory Processing Disorder (CAPD).

SUMMARY AND RECOMMENDATIONS
Donquarion was a delightful, intelligent, and perceptive young man with a strong desire to
succeed despite significant educational, cognitive, emotional, and systemic problems. Individuals
with neurocognitive patterns and histories like Donquarion's are often fraught with depression
and low feelings of value and self-efficacy due to chronic academic failure, the subjective distress
associated with having solid nonverbal intelligence but lacking the language and phonological
ability to communicate and perform in an age expected fashion.

Donquarion's desire to succeed and learn, along with his solid nonverbal problem-solving
ability and demonstrated capacity for learning in structured, individualized settings, suggested
that he could have acquired a higher level of academic mastery and increased adaptive behavior
(ability to independently navigate the demands of his environment) had he been provided proper
evaluation and interventions during his formative years. For instance, a curriculum that provided
audiobooks of content subjects with interactional learning modules and formative assessment
would have laid a more promising platform for achievement and preparation for independent
functioning, along with other assistive devices, methods of reading instruction, and practical
arithmetic instruction with concepts tied to real-life events like the mathematics behind a plane
flying and visual illustrations of objects displacing water. A therapeutic relationship with a
social worker or other designated individual working in the school environment would have also
enhanced his learning and skill development by facilitating feelings of safety through grounding
and reframing stressful events.

It is recommended that future educational services consider the ideas listed above. Further,
Donquarion's teachers and caregivers must interpret his behavior through a trauma lens instead of
his conduct being rooted in aggressive intent, willful neglect of academic tasks, and
noncompliance. That said, he is expected to thrive in an environment that celebrates his strengths
and abilities independent of age-based expectations and provides clear patient support,
supervision, and guidance.

Concerning past trauma and current emotional challenges, Donquarion would benefit from weekly
therapeutic services to address feelings of shame and humiliation in the educational environment
and their synergistic impact with other traumatic life events on his wellbeing and feelings of
efficacy.
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Recommendations for Home
   1. Individual, and if deemed appropriate by his counselor, family systems therapy addresses
      trauma, grief, mood symptoms, the development of reframing and relaxation techniques,
      and the benefits of parental attunement and involvement for enhancing academic, social,
          and vocational outcomes for Donquarion. Donquarion desperately needs a venue to work on
          cognitive-behavioral strategies and relaxation techniques for anxiety, interventions for improving
          self-esteem, and strategies for promoting distress tolerance such as those found in dialectical
          behavior therapy methods. It is needful that Donquarion's therapist exercises cultural humility
          and sensitivity to the unique stressors suffered by African American male youth. As stated earlier,
          psychiatric consultation and psychotherapy should be frequent enough to monitor the
          development of acute psychiatric symptoms such as suicidal ideation.

     2. Donquarion and his advocates are strongly advised to work with medical providers to find
        the best medical treatments for maximizing his functioning and skill acquisition by treating
        deficits in attention, mood, and sleep disruption. See pharmacologic considerations in
        summary on page two under recommendations.

     3. Referrals to neurology and audiology are also needed to follow up on his history of
        concussions, deficits in fine motor abilities, and other indications of developmental
        (CAPD) and potential acquired cognitive deficits.

     4. Consider strategies like those listed below to improve Donquarion's self-esteem:
        a. Encourage scheduled activities with family members and friends to do something he
           enjoys and possibly take the lead because of his strengths.

          b. Brainstorm in the therapy and family setting coping strategies for dealing with daily
             struggles and dilemmas. Ask Donquarion what he thinks would help the problem
             instead of rushing to fix the problem or offer a solution. If he is stumped, help him
             generate a list of potential responses.

          c. Highlight things he does well through compliments and increased recognition.

     5. Be realistic about what Donquarion can reasonably be expected to accomplish and set him
        up for success. Find ways to increase his awareness of what he can control and accomplish.
        Communicate to Donquarion that he adds value to the lives of others.

     6. Donquarion and his family are reminded of the benefit of low-expressed emotions in
        response to undesired events and circumstances and high expressed emotions in the
        presence of desired events or behaviors. Make sure task demands and family expectations
        are clearly and concisely articulated and understood by all by making it a household ritual
        that repeats requests or instructions.

     7. To minimize mental fatigue, design Donquarion's schedule at home, school, or eventually
        work, whenever possible, so that high-interest activities follow low-interest or problem
        activities. Build respite into his schedule by having a less demanding task to follow a more
        demanding one.



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     8. Donquarion would benefit from following along with audiobooks daily on topics that he
        finds interesting, particularly if they have a hands-on component like DIY material.

     9. An annual neuropsychological evaluation is recommended to monitor neurocognitive
        function and development and assist with treatment recommendations pertinent to his stage
        of development and given his history of concussion.

Recommendations for school:
   1. Based on neuropsychological findings and diagnoses, it is recommended that Donquarion
      enrolls in an academic setting that has oversight through his school district's special
      education department or some other designated entity with the capacity to engage him in a
      respectful and inspiring manner while aiding him in developing skills and compensatory
      strategies consistent with his specific pattern of neurocognitive strengths and weaknesses
      and emotional needs. Donquarion will benefit from ample individualized instruction to
      develop essential academic skills.

     2. In addition to general curriculum skill areas, Donquarion would benefit from a strategic
        approach to the following skill areas: money concepts, time concepts, independent living
        skills, self-care and hygiene, community access, leisure activities, and vocational training.

     3. Donquarion's school-related distress may improve with programming changes that are
        more sensitive to his self-esteem and social needs (including a sense of belonging and
        value). Nevertheless, the addition of social work services to address emotional issues and
        behaviors that interfere with school functioning (e.g., fear of scrutiny, failure fatigue,
        performance anxiety) is recommended.

     4. Additional recommendations for school include the following:
           a. Teach one concept or activity component at a time.
           b. Teach one step at a time to help support memorization and sequencing.
           c. Always provide multiple opportunities to practice skills in several different
               settings.
           d. Use physical and verbal prompting to guide correct responses and provide specific
               verbal praise to reinforce these responses.
           e. Break up classwork and assignments into smaller, manageable tasks (i.e.,
               "complete the first three items" than "complete the next three items," etc.)
           f. When possible, provide verbal repetition for multi-step directions, and have
               Donquarion repeat what was said to you.
           g. When possible, reduce the number of visual stimuli presented at one time (e.g.,
               cover portions of the text when reading, cards with a cut-out window to isolate text,
               etc.)
           h. Items read-aloud for Donquarion on tests and classroom assignments.
           i. Provide frequent breaks with an opportunity to leave his seat (obtain a drink,
               perform errands, assist a teacher in the classroom, etc.)
           j. Use of nonverbal signals with Donquarion (e.g., hand signs) when he is not on task.




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     5. In group settings, seat Donquarion near a person capable of gently providing feedback. He
        is likely to benefit from subtle cues to take breaks and complete tasks. Provide increased
        monitoring to ensure that he has understood task instructions and is completing tasks as
        instructed. Provide Donquarion with a quiet place, assistance for reading, and extended
        time for testing.

     6. Given significant fine motor deficits, providing Donquarion with extended time when
        writing is required; providing assistive devices for writing, such as computers or tablets, is
        even more ideal with spell-correct functions.

     7. Donquarion's caregivers and educators are encouraged to approach his behavior with his
        history of trauma in mind. That said,

                When Donquarion is having a difficult time, it can help look for cues in the
                environment that may have triggered a fear response. Be careful about placing blame
                on Donquarion. The question, "What's happening in this situation," can be more
                helpful than, "                                          eed to remain calm. After
                Donquarion reacts kindly and compassionately,

                                                                               d be appealing. This
                will help Donquarion gain a sense of control and agency and foster feelings of safety

                                 a

                Donquarion would benefit from having peaceful, predictable transitions. Transitions
                between activities can trigger a feeling of      oh, what will happen         which can
                prime individuals towards emotional reactivity. Some youth benefit from meditation
                bell or music to signal     time to transition. The important thing is to build a routine
                around transitions so that children know: a) what the transition is going to look like,
                b) what         supposed to be doing, and c)

                Praise publicly and criticize privately. Due to his challenges, Donquarion is
                hypertensive to criticism. Hence, caregivers should be compassionate when
                reprimanding Donquarion. Because of this, it will be imperative to capture moments
                when he is doing well and point them out to build his self-
                you
                            When you need to re-direct the behavior, do so privately and in a calm
                voice.

     8. A school occupational therapy evaluation is recommended to address motor impairments,
        a reading specialist to assist with reading comprehension strategies like the SQ3R method,
        and an audiologist to determine the need for assistive devices and environmental
        compensatory tools. Treatment of his attention deficits will increase his availability for
        learning. Treatment of his attention deficit using a selective norepinephrine reuptake
        inhibitor versus traditional stimulant treatment is supported by research in those individuals
        who struggle with executive-based automaticity in reading.



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                                   CONFIDENTIAL TEST SCORES
 Note: These scores are intended for appropriately licensed professionals and should never be interpreted
                           without consideration of the attached narrative report.
The test data listed below use one or more of the following formats:
Standard Scores have an average of 100 and a standard deviation of 15 (the average range is 85 to 115).
Scaled Scores have an average of 10 and a standard deviation of 3 (the average range is 7 to 13).
T-Scores have an average range of 50 and a standard deviation of 10 (the average range is 40 to 60).
Percentile score: A percentile ranking tells the percentage of similarly-aged child who would score
                                                                        th

performance at the solidly average range, with 50% of similarly-aged youth scoring at or below the same
score. The average range is reflected in the 18th 82nd percentile.
INTELLECTUAL FUNCTIONING
Wechsler Adult Intelligence Scale 4th Edition
 Index                         Standard Score               Performance Range            Percentile Rank
 Verbal Comprehension                 72               Significantly Below Average             3rd
 Perceptual Reasoning                 92                           Average                     30th
 Working Memory                       74               Significantly Below Average              4th
 Processing Speed                     89                           Average                     23rd
 Full Scale IQ                       n/a                              -                         -
 Domain                    Subtest                 Standard Score   Performance Range     Percentile Rank
 Verbal Comprehension
                           Similarities                  5          Sig. Below Average         5th
                           Vocabulary                    5          Sig. Below Average         5th
                           Information                   5          Sig. Below Average         5th
                           (Comprehension)               7            Below Average            16th
 Perceptual Reasoning
                           Block Design                  10              Average               50th
                           Matrix Reasoning              8               Average               25th
                           Visual Puzzles                8               Average               25th
                           (Figure Weights)              9               Average               37th
                           (Picture Completion)          7            Below Average            16th
 Working Memory
                           Digit Span                    3               Impaired               1st
                           Arithmetic                    8               Average               25th
                           (L-N Sequencing)              4               Impaired              2nd
 Processing Speed
                           Symbol Search                 10              Average               50th
                           Coding                        6            Below Average            9th
                           (Cancellation)                8               Average               25th
ACADEMIC ACHIEVEMENT
Wide Range Achievement Task *(broad estimates due to error in test administration)
 Subtest                       Standard            Grade             Performance            Percentile
 Word Reading                      67               3.3                Impaired                  1st
 Spelling                          74               4.4               Sig Below                  4th
 *Sentence Comprehension          *72               *4.7            Sig Below Avg               *3rd
 Math Computation                  69               3.8                Impaired                 2nd


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MEMORY
Wechsler Memory Scale 4th Edition
 Subtest                            Scaled Score            Performance Range           Percentile Rank
 Logical Memory I                         11                      Average                     63rd
 Logical Memory II                         7                  Below Average                   16th
 Visual Reproduction I                     6                  Below Average                    9th
 Visual Reproduction II                    7                  Below Average                    16th
California Verbal Learning Test 2nd Edition
                                      Standard Score                Performance Classification
 Trial 1-5                                T =58                             Average
 Total Learning Slope 1-5                  Z= -1                         Below Average
 Forced Choice Recognition                   n/a                   Good Effort/100% accuracy
 Short Delay Free Recall                    Z=0                             Average
 Short Delay Cued Recall                    Z=0                             Average
 Long Delay Free Recall                     Z=0                             Average
 Long Delay Cued Recall                   Z= -0.5                         Low Average
LANGUAGE
Auditory Analysis Test phonological processing
           Raw Score                                   Performance Classification
              15                                                Impaired
Controlled Oral Word Association Test (FAS) verbal fluency
           Raw Score                                   Performance Classification
              22                                             Below Average
ATTENTION AND EXECUTIVE FUNCTIONING
Trail Making Test A & B
                                               Z-Score         Performance Range         Percentile Rank
 Trail Making Test A                              -1.6      Significantly Below Avg             5th
 Trail Making Test B                             -3.67               Impaired                   < 1st
Wisconsin Card Sorting Test
                                          Standard Score      T-Score               Percentile
 Total Errors                                     113            59                     81st
 Perseverative Responses                          103            52                     58th
 Perseverative Errors                             103            52                     58th
 Non-perseverative Errors                         119            63                     90th
 Percent Conceptual Level Responses               105            53                     63rd
 Categories Completed (6)                           -             -                    >16th
 Trial to Complete First Category (11)              -             -                    > 16th
 Failure to Maintain Set (0)                        -             -                    > 16th
 Learning to Learn (2.2)                            -             -                    >16th
FINE-MOTOR, VISUAL-MOTOR AND VISUAL-SPATIAL FUNCTIONING
Grooved Pegboard fine motor dexterity
 Hand                                Raw Score                         Performance Range
 Dominant                                 79                             Below Average
 Non-Dominant                             87                             Below Average




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  Finger Tapping upper extremity speed
   Hand                               Raw Score                         Performance Range
   Dominant Right                        45.4                                 WNL
   Non-Dominant Left                     46.6                                 WNL
  Judgement of Line Orientation spatial orientation
                      Raw Score                             Performance Range
                           16                                                   Impaired
  Reitan-Klove Sensory-Perception Examination
   Stimulus Type                     Error Totals                       Performance Range
   Auditory Right                          0                                  WNL
   Auditory Left                           0                                  WNL
   Auditory Both                           0                                  WNL
   Visual Right                            0                                  WNL
   Visual Left                             0                                  WNL
   Visual Both                             0                                  WNL

  QUESTIONNAIRES
  Conners Adult ADHS Rating Scale CAARS Observer: Long Version (CAARS-O:L)
   This form was completed by              mother. Consistent Responding
   Subscale                               Raw Score      T-Score                Guideline
   Inattention/Memory Problems               20             62              Mildly Atypical
   Hyperactivity/Restlessness                14             51                   Typical
   Impulsivity/Emotional Lability            20             60              Slightly Atypical
   Problems with Self-Concept                11             62              Mildly Atypical
   DSM-V: Inattentive Symptoms               19             70            Moderately Atypical
   DSM-V: Hyperactive- Impulsive              8             50                   Typical
   DSM-V: ADHD Symptoms Total                27             62              Mildly Atypical
   ADHD Index                                19             62              Mildly Atypical
  Structured Inventory of Malingered Symptomology (screening measure)
   SIMS Scales                           Raw Score     Clinical Cutoff Guideline
   Psychosis (P)                             1               >1         Not Elevated
   Neurologic Impairment (NI)                3               >2         Significantly Elevated
   Amnestic Disorders (AM)                   1               >2         Not Elevated
   Low Intelligence (LI)                     -               >2         -
   Affective Disorder (AF)                   4               >5         Not Elevated
   Total                                     9               >14        Not Elevated




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                Physician verification of Other Health Impairment for Donquarion Lewis
                                                                                (e.g., physician,
          neurologist, etc.) for signature. The form should then be shared with         school.

Donquarion has been diagnosed with Attention-Deficit/Hyperactivity Disorder (ADHD), combined
presentation, moderate, Post-Traumatic Stress Disorder, chronic (with disturbance of mood, sensory, and
conduct), Complicated Grief, Major depressive disorder, recurrent, in remission, unspecified, panic
disorder, in remission, Unspecified Sleep Disorder, Impairment of motor functions (fine motor dexterity),
by Chiarina Owens, Ph.D. (For more information, please see accompanying neuropsychological evaluation
report.) Considering these diagnoses, Donquarion may be eligible for special education services in
Michigan as a student with Other Health Impairment (OHI) through the age of 26 years. Michigan
education law requires a medical provider (NOT a psychologist) to document health problems such as
ADHD. To facilitate multidisciplinary collaboration, this form is to assist Donquarion and his family in
obtaining the necessary documentation for educational purposes.

A summary of eligibility criteria under Michigan special education laws:
      R 340.1709a Other Health Impairment explained; determination. Rule 9a.
      (1)
      heightened alertness to environmental stimuli, which results in limited alertness with respect to
      the educational environment and to which both of the following provisions apply:
              (a) Is due to chronic or acute health problems such as any of the following:
                        Asthma.
                        Attention deficit hyperactivity disorder.
                        Diabetes.
                        Epilepsy.
                        A heart condition.
                        Hemophilia.
                        Lead poisoning.
                        Leukemia.
                        Nephritis.
                        Rheumatic fever.
                        Sickle cell anemia.
              (b) The impairment adversely affects a              educational performance.
      (2) A determination of disability shall be based upon a comprehensive evaluation by a
      multidisciplinary evaluation team, which shall include 1 of the following persons:
              (a) An orthopedic surgeon.
              (b) An internist.
              (c) A neurologist.
              (d) A pediatrician.
               (e) A family physician or any other approved physician as defined in 1978 PA 368, MCL
      333.1101 et seq.

Chronic or Acute Health Problem, (e.g., ADHD):

Physician Signature:

Physician Printed [Name]:

Date:



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